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  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page1 1ofof1515




                            FOR PUBLICATION

              UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT


            WESTERN WATERSHEDS PROJECT;              No. 18-35075
            CENTER FOR BIOLOGICAL DIVERSITY;
            FRIENDS OF THE CLEARWATER;                  D.C. No.
            WILDEARTH GUARDIANS; PREDATOR            1:16-cv-00218-
            DEFENSE,                                   EJL-CWD
                           Plaintiffs-Appellants,

                             v.                        OPINION

            TODD GRIMM, Idaho Director,
            Wildlife Services; USDA WILDLIFE
            SERVICES,
                           Defendants-Appellees.



                  Appeal from the United States District Court
                            for the District of Idaho
                   Edward J. Lodge, District Judge, Presiding

                     Argued and Submitted March 4, 2019
                              Portland, Oregon

                              Filed April 23, 2019
Case
  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page2 2ofof1515




           2         WESTERN WATERSHEDS PROJECT V. GRIMM

               Before: Susan P. Graber and Marsha S. Berzon, Circuit
                Judges, and John R. Tunheim, * Chief District Judge.

                      Opinion by Chief District Judge Tunheim


                                     SUMMARY **


                     Environmental Law / Article III Standing

               The panel reversed the district court’s dismissal for lack
           of Article III standing of an action brought by plaintiff
           conservationist groups to enjoin the federal government’s
           participation in the killing of gray wolves in Idaho pending
           additional analysis under the National Environmental Policy
           Act.

               The panel analyzed the requirements of Article III
           standing that plaintiffs had the burden of establishing.

               First, the panel held that eight declarations from
           plaintiffs’ members describing how USDA Wildlife
           Services’ wolf-killing activities threatened their aesthetic
           and recreational interests in tracking and observing wolves
           in the wild fell under the scope of NEPA’s protections, and
           established injury-in-fact.



                *
                 The Honorable John R. Tunheim, Chief United States District
           Judge for the District of Minnesota, sitting by designation.
                **
                  This summary constitutes no part of the opinion of the court. It
           has been prepared by court staff for the convenience of the reader.
Case
  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page3 3ofof1515




                   WESTERN WATERSHEDS PROJECT V. GRIMM                 3

              Second, the panel noted that causation was established
           under the relaxed standard for procedural injuries.

                Third, the panel held that the district court erred in
           finding that plaintiffs’ injuries were not redressable, and in
           relying on Goat Ranchers of Or. v. Williams, 379 F. App’x
           662 (9th Cir. 2010), which was unpublished and therefore
           lacked precedential value, and which was distinguishable on
           the facts. The panel held that the proper inquiry was whether
           plaintiffs had shown that halting Wildlife Services’ wolf-
           killing activities pending additional NEPA analysis could
           protect their aesthetic and recreational interests in gray
           wolves in Idaho. The panel held that plaintiffs had shown
           this. The panel remanded for further proceedings.



                                   COUNSEL

           Talasi Brooks (argued) and Lauren M. Rule, Advocates for
           the West, Boise, Idaho; Kristin F. Ruether, Western
           Watersheds Project, Boise, Idaho; for Plaintiffs-Appellants.

           Kevin W. McArdle (argued), Andrew C. Mergen, Joan
           Pepin, Shaun M. Pettigrew, and John P. Tustin, Attorneys;
           Eric Grant, Deputy Assistant Attorney General; Jeffrey H.
           Wood, Acting Assistant Attorney General; Environment and
           Natural Resources Division, United States Department of
           Justice, Washington, D.C.; Lisa Jabaily and Leah C.
           Battaglioli, Trial Attorneys, Marketing, Regulatory, and
           Food Safety Programs Division, Office of the General
           Counsel, United States Department of Agriculture,
           Washington, D.C.; for Defendants-Appellees.
Case
  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page4 4ofof1515




           4       WESTERN WATERSHEDS PROJECT V. GRIMM

                                    OPINION

           TUNHEIM, Chief District Judge

               Conservationist Plaintiffs brought this action to enjoin
           the federal government’s participation in the killing of gray
           wolves in Idaho pending additional analysis under the
           National Environmental Policy Act of 1969 (“NEPA”).
           Plaintiffs allege that Defendants Grimm and Wildlife
           Services (together, “Wildlife Services”), a component of the
           U.S. Department of Agriculture’s Animal and Plant Health
           Inspection Service (“APHIS”), violated NEPA by failing to
           prepare an Environmental Impact Statement (“EIS”) on their
           wolf management activities in Idaho. The district court
           dismissed Plaintiffs’ action for lack of Article III standing,
           holding that Plaintiffs had not shown that their injuries were
           redressable because Idaho could engage in the same lethal
           wolf management operations without the help of the federal
           government. Plaintiffs appeal. For the reasons below, we
           reverse and remand.

                               I. BACKGROUND

           A. National Environmental Policy Act

               NEPA “is intended to help public officials make
           decisions that are based on understanding of environmental
           consequences, and take actions that protect, restore, and
           enhance the environment.”          40 C.F.R. § 1500.1(c).
           Accordingly, NEPA requires federal agencies to assess and
           publicly disclose the environmental impacts of proposed
           federal actions. See 42 U.S.C. §§ 4321–4370m-12. Where
           a “major federal action” will “significantly affect[] the
           quality of the human environment,” 42 U.S.C. § 4332(C), or
           “there are substantial questions about whether a project may
           cause significant degradation of the human environment,”
Case
  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page5 5ofof1515




                   WESTERN WATERSHEDS PROJECT V. GRIMM                5

           Native Ecosystems Council v. U.S. Forest Serv., 428 F.3d
           1233, 1239 (9th Cir. 2005) (emphasis in original), an agency
           is required to prepare an EIS. Where the environmental
           consequences of a proposed federal action are unclear, an
           agency must prepare an environmental assessment (“EA”) to
           determine whether an EIS is necessary. 40 C.F.R.
           § 1501.4(b). If an agency completes an EA and determines
           that an EIS is unnecessary, it must issue a “finding of no
           significant impact” (“FONSI”) explaining its decision. Id.
           § 1501.4(e).

                An agency must supplement a draft or final EIS if:
           “(i) [t]he agency makes substantial changes in the proposed
           action that are relevant to environmental concerns; or
           (ii) [t]here are significant new circumstances or information
           relevant to environmental concerns and bearing on the
           proposed action or its impacts.” Id. § 1502.9(c)(1).

              When reviewing an agency’s decision not to prepare an
           EIS, we consider whether the decision was arbitrary and
           capricious.  Blue Mountains Biodiversity Project v.
           Blackwood, 161 F.3d 1208, 1211 (9th Cir. 1998).

           B. Gray Wolf Management in Idaho

               Historically, the Northern Rocky Mountain (“NRM”)
           gray wolf inhabited mountainous portions of Idaho,
           Montana, and Wyoming.          Its population decreased
           drastically with increased human activity and, in 1974, the
           U.S. Fish and Wildlife Service (“FWS”) listed the NRM
           gray wolf as endangered under the Endangered Species Act
           of 1973 (“ESA”).

               FWS was responsible for managing the NRM gray wolf
           population while it was listed under the ESA. In 1994, FWS
           reintroduced NRM gray wolves into central Idaho. Its goal
Case
  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page6 6ofof1515




           6       WESTERN WATERSHEDS PROJECT V. GRIMM

           was to help the NRM gray wolf reach a population of thirty
           breeding pairs across the listed NRM range. Anticipating
           potential wolf-human conflicts brought on by the
           reintroduction, FWS authorized the killing or removal of
           wolves identified as having preyed on livestock or other
           domestic animals. Where authorized by FWS, Wildlife
           Services assisted livestock owners with those efforts.

               The NRM gray wolf population grew steadily under
           FWS management. By 2000, FWS estimated that the
           population had reached the stated goal of thirty breeding
           pairs. In 2002, the Idaho Department of Fish and Game
           (“IDFG”) prepared a plan describing Idaho’s goals and
           strategies for wolf management. IDFG prepared the plan
           anticipating that NRM gray wolves would eventually be
           delisted under the ESA, which would shift wolf management
           responsibilities to state governments.

               After a series of failed delisting attempts, the NRM gray
           wolf was successfully delisted in 2011 following a directive
           from Congress. See All. for the Wild Rockies v. Salazar,
           672 F.3d 1170, 1171–72 (9th Cir. 2012). Since the 2011
           delisting, IDFG has maintained responsibility for managing
           gray wolves in Idaho. IDFG manages wolves in accordance
           with the 2002 plan and an Elk Management Plan developed
           in 2014. Together, these plans address wolf predation on
           livestock, domestic animals, and ungulates.

               IDFG relies primarily on sport hunting to meet its wolf
           management objectives, with harvest numbers ranging from
           200 to 356 wolves annually since 2011. Where sport hunting
           is insufficient, IDFG requests assistance from Wildlife
           Services. Once Wildlife Services receives a request, it
           enjoys considerable discretion in determining whether a
           problem complained of was caused by wolves and, if so, how
           to address it. Wildlife Services may use lethal or non-lethal
Case
  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page7 7ofof1515




                   WESTERN WATERSHEDS PROJECT V. GRIMM                 7

           methods to target and address depredating wolf packs or
           individuals. IDFG pays Wildlife Services with funds
           allocated from its Wolf Depredation Control Board, which
           was established in 2014.

                From 2011 to 2015, between forty-two and eighty
           wolves were killed annually by Wildlife Services or
           livestock producers to address livestock depredation.
           During that time, Wildlife Services also killed between zero
           and twenty-three wolves per year to protect ungulates in
           Idaho’s Lolo elk zone, an area identified by IDFG as a
           critical habitat for its elk population. Wildlife Services
           killed wolves in the Lolo elk zone during aerial shooting
           operations, sometimes removing entire packs in one strike.
           Aerial shooting is considered a highly effective wolf
           management technique but requires special expertise and
           equipment to be conducted effectively. IDFG independently
           killed fourteen wolves in 2013 to benefit prey species but did
           not independently kill wolves in other years. It is not clear
           whether IDFG has ever carried out an aerial shooting
           operation.

               IDFG has stated that, in the absence of assistance from
           Wildlife Services, it would conduct its own wolf removal
           operations for the purpose of protecting ungulates. IDFG
           has not provided details regarding to what extent, if any, it
           would conduct wolf management operations for the purpose
           of protecting livestock or domestic animals, whether it
           would attempt to kill the same number of wolves, or what
           management methods it would employ should Wildlife
           Services withdraw its assistance. Instead, IDFG has made
           general statements about its “independent capabilities to
           perform wildlife control activities” and cited agreements
           with independent contractors that it “has used and may use
           to perform lethal wolf control.”
Case
  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page8 8ofof1515




           8       WESTERN WATERSHEDS PROJECT V. GRIMM

           C. Wildlife Services’ EA and FONSI

               Following public comment, in 2011, Wildlife Services
           issued an EA and FONSI discussing its future involvement
           with gray wolf management in Idaho. Among other
           alternatives, Wildlife Services considered limiting its
           activities to nonlethal control efforts or declining to provide
           any assistance whatsoever. In its commentary, Wildlife
           Services remarked that the effectiveness of alternatives
           wherein it did not offer lethal control would “depend largely
           on whether the USFWS or IDFG, as appropriate, were able
           to establish an equally prompt and effective wolf damage
           management program in the absence of [Wildlife Services]”
           and that, “in the mean-time, implementation of both lethal
           and nonlethal methods by other entities would likely not be
           as effective as when carried out with the assistance of
           [Wildlife Services].”

               Ultimately, Wildlife Services chose “Alternative 2,”
           under which it would continue to assist FWS—or, once
           NRM wolves were delisted, IDFG—with wolf management
           for the purpose of livestock protection and would provide
           additional assistance for the purpose of ungulate protection.
           Because Wildlife Services determined that Alternative 2
           would not have a significant environmental impact, it did not
           prepare an EIS. However, it stated that it would continue to
           monitor its wolf management efforts in Idaho based on
           several factors, including effects on wolf population, risks to
           non-target species, impacts on public health and safety,
           humaneness, and sociological issues.

               Shortly after Wildlife Services issued the EA and
           FONSI, the NRM gray wolf was delisted, allowing IDFG to
           assume management over gray wolves in Idaho. Despite the
           changes that accompanied and followed that shift—
           including the legalization of sport hunting, changes to
Case
  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page9 9ofof1515




                   WESTERN WATERSHEDS PROJECT V. GRIMM               9

           IDFG’s wolf management plans, and the release of new
           research—Wildlife Services determined each year from
           2011 to 2015 that supplementation of its 2011 NEPA
           analysis was unnecessary.

           D. Procedural History

               Plaintiffs are five environmental advocacy groups that
           work and have members in Idaho. They brought this action
           against Wildlife Services in June 2016 in the United States
           District Court for the District of Idaho. Plaintiffs brought
           four Claims: (I) NEPA Violation—Failure to prepare an EIS;
           (II) NEPA Violation—Failure to take a hard look at the
           effects of actions and alternatives; (III) NEPA Violations—
           Decisions not to supplement NEPA analysis as arbitrary and
           capricious, 5 U.S.C. § 706(2)(A);           and (IV) NEPA
           Violation—Failure to supplement the 2011 EA as an action
           unlawfully withheld or unreasonably delayed, id. § 701(1).
           They seek to enjoin Wildlife Services from continuing its
           wolf-killing activities until it undergoes additional NEPA
           analysis.

               Plaintiffs and Wildlife Services filed cross-motions for
           summary judgment. The district court granted summary
           judgment for Wildlife Services, holding that Plaintiffs lack
           Article III standing. The district court found that, even if
           Wildlife Services were ordered to halt its wolf-killing
           activities pending an updated NEPA analysis, Plaintiffs had
           not shown that IDFG would not fill in and kill the same
           number of wolves. Because of this finding, the court held
           that Plaintiffs’ injuries were not redressable.

                               II. DISCUSSION

              We review questions of standing de novo. Wild Fish
           Conservancy v. Jewell, 730 F.3d 791, 794 & n.2 (9th Cir.
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  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page1010ofof1515




           10      WESTERN WATERSHEDS PROJECT V. GRIMM

           2013). A plaintiff has the burden of establishing Article III
           standing. Salmon Spawning & Recovery All. v. Gutierrez,
           545 F.3d 1220, 1225 (9th Cir. 2008). A plaintiff seeking to
           establish standing must show that: “(1) he or she has
           suffered an injury in fact that is concrete and particularized,
           and actual or imminent; (2) the injury is fairly traceable to
           the challenged conduct; and (3) the injury is likely to be
           redressed by a favorable court decision.” Id. (citing Lujan v.
           Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)).

               The only requirement in dispute here is redressability.
           However, because redressability is influenced by the scope
           of Plaintiffs’ injury, we turn first to that requirement.

           A. Injury

               Where a plaintiff alleges a procedural injury—such as a
           NEPA violation—the plaintiff “must show that the
           procedures in question are designed to protect some
           threatened concrete interest of his that is the ultimate basis
           of his standing.” WildEarth Guardians v. U.S. Dep’t of
           Agric., 795 F.3d 1148, 1154 (9th Cir. 2015) (quoting W.
           Watersheds Project v. Kraayenbrink, 632 F.3d 472, 485 (9th
           Cir. 2011)). Environmental plaintiffs may establish injury-
           in-fact by demonstrating that “they use the affected area and
           are persons for whom the aesthetic and recreational values
           of the area will be lessened by the challenged activity.” Id.
           (quoting Friends of the Earth, Inc. v. Laidlaw Envtl. Servs.,
           Inc., 528 U.S. 167, 183 (2000)).

               Plaintiffs submitted eight declarations from their
           members describing how Wildlife Services’ wolf-killing
           activities threaten their aesthetic and recreational interests in
           tracking and observing wolves in the wild, often in specific
           regions. For instance, one member described how his life-
           long love of wolves has led him to track and observe them
Case
  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page1111ofof1515




                     WESTERN WATERSHEDS PROJECT V. GRIMM                         11

           in the Idaho wilderness. Having been fortunate enough to
           spot wolves or hear them howl on several occasions, he is
           able to identify certain individuals and packs. He plans to
           continue to track wolves throughout Idaho. On one
           occasion, he personally witnessed Wildlife Services
           shooting an entire wolf pack during an aerial killing
           operation. He and other members also describe their
           interests in enjoying the wildlife and ecosystems of Idaho,
           which may be threatened by the ripple effects of wolf
           mortality or changes in behavior caused by wolf killings.
           These interests fall under the scope of NEPA’s protections
           and establish injury-in-fact.

           B. Redressability 1

                The district court held that Plaintiffs’ injuries were not
           redressable, finding that Plaintiffs had not shown that halting
           Wildlife Services’ wolf management activities in Idaho
           pending further NEPA analysis would result in fewer wolf
           killings or more wolves being present in Idaho for Plaintiffs’
           enjoyment. In so holding, the district court relied on Goat
           Ranchers of Or. v. Williams, 379 F. App’x 662 (9th Cir.
           2010) (unpublished). There, we held that the plaintiffs
           challenging Wildlife Services’ participation in Oregon’s
           state-funded cougar management plan had not shown that
           their injuries were redressable because Oregon would likely
           continue to kill and trap the same number of cougars without
           Wildlife Services’ assistance. Id. at 663–64.


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                  Causation is not at issue here. However, because standing is a
           constitutional requirement, we note that Plaintiffs’ injury—reduced
           aesthetic and recreational enjoyment of wolves in Idaho—is “not too
           tenuously connected” to Wildlife Services’ alleged NEPA violation, thus
           establishing causation under the relaxed standard for procedural injuries.
           Salmon Spawning, 545 F.3d at 1229.
Case
  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page1212ofof1515




           12      WESTERN WATERSHEDS PROJECT V. GRIMM

               The district court erred by relying on Goat Ranchers.
           That case is unpublished and lacks precedential value. 9th
           Cir. R. 36-3(a). Additionally, Goat Ranchers and the present
           case are significantly different factually. For instance,
           unlike IDFG, Oregon made clear that it would continue to
           remove cougars in each area it selected as a target, with or
           without the participation or assistance of Wildlife Services.
           Finally, in relying on Goat Ranchers, the district court failed
           to properly apply the relaxed standard for redressability in
           procedural injury cases. We turn now to that standard.

               To establish redressability, “[p]laintiffs alleging
           procedural injury ‘must show only that they have a
           procedural right that, if exercised, could protect their
           concrete interests.’” Salmon Spawning, 545 F.3d at 1226
           (quoting Defs. of Wildlife v. EPA, 420 F.3d 946, 957 (9th
           Cir. 2005), overruled on other grounds by Nat’l Ass’n of
           Home Builders v. Defs. of Wildlife, 551 U.S. 644 (2007)).
           Thus, the proper inquiry here is whether Plaintiffs have
           shown that halting Wildlife Services’ wolf-killing activities
           pending additional NEPA analysis could protect their
           aesthetic and recreational interests in gray wolves in Idaho.
           We hold that they have.

               If Wildlife Services were to cease its activities—even
           temporarily—it is possible that fewer wolves would be
           killed, particularly in the short term. Wildlife Services itself
           has stated that, without its assistance, “implementation of
           both lethal and nonlethal [wolf management] methods by
           other entities would likely not be as effective.” Likewise,
           additional NEPA analysis could change Wildlife Services’
           activities in the long term. Among other possibilities,
           Wildlife Services could decide, in its discretion, to kill fewer
           wolves or to use only non-lethal means of wolf management
           moving forward. Any of these outcomes would protect
Case
  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page1313ofof1515




                   WESTERN WATERSHEDS PROJECT V. GRIMM                  13

           Plaintiffs’ interests. “That it is uncertain whether [additional
           analysis] will ultimately benefit the groups . . . does not
           undermine their standing.” Salmon Spawning, 545 F.3d at
           1229.

                Nevertheless, Wildlife Services argues that, without it,
           IDFG could—and would—exercise its independent
           authority to meet its wolf management objectives, thus
           defeating redressability. On this point, our opinion in
           WildEarth Guardians is instructive. In that case, the
           plaintiff brought NEPA claims against APHIS, challenging
           its participation in Nevada’s predator management program.
           WildEarth Guardians, 795 F.3d at 1153. APHIS and
           Nevada shared responsibility for the program, with both
           entities contributing funding and personnel. Id. at 1152.
           APHIS argued that the plaintiff’s injuries were not
           redressable because, without federal involvement, “Nevada
           would pick up where the federal government left off.” Id. at
           1156–57. In support of its argument, APHIS pointed to
           Nevada’s independent authority to manage predators, its
           existing participation in predator control activities, and a
           single statement by a Nevada official expressing the state’s
           intent to develop an independent program absent APHIS’s
           participation. Id.

               We held that the plaintiff’s procedural injuries were
           redressable. Id. at 1156. We noted that although the Nevada
           Department of Wildlife had stated that it would implement a
           predator management program without APHIS, it had not
           described how it would carry out such a program or to what
           extent Nevada would devote its resources to it. Id. at 1158.
           It was therefore possible that, without APHIS, Nevada
           would spend less on predator management or would
           implement control methods that were less harmful to the
           plaintiff’s interests than those used by APHIS, such as aerial
Case
  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page1414ofof1515




           14      WESTERN WATERSHEDS PROJECT V. GRIMM

           hunting. Id. at 1158–59. Ultimately, we concluded that
           “[t]he notion that Nevada would replace everything APHIS
           [did was] speculative at best.” Id. at 1159.

               Here, as in WildEarth Guardians, it is far from clear that,
           without Wildlife Services, IDFG would implement a
           program “entirely redundant” in its effect on Plaintiffs’
           interests. Id. at 1158. IDFG has stated in general terms that
           it has “independent capabilities to perform wildlife control
           activities” and agreements with independent contractors that
           it “has used and may use to perform lethal wolf control.”
           Even so, IDFG has not expressed an intent—or ability—to
           replace Wildlife Services’ lethal wolf management
           operations completely. The closest IDFG has come to
           indicating as much can be found in a single letter to Wildlife
           Services in which the writer states that, if Wildlife Services
           were unwilling to participate in wolf management for the
           protection of ungulates, IDFG would conduct its own wolf
           removal efforts for that purpose. But that letter does not state
           that IDFG would independently carry out wolf killings to
           protect livestock or domestic animals—a significant
           component of Wildlife Services’ existing wolf management
           activities in Idaho. Nor does it explain IDFG’s plans or
           demonstrate its capacity to compensate for the loss of federal
           services. Indeed, the fact that Wildlife Services has carried
           out nearly all lethal wolf management in Idaho since 2011,
           partially through highly technical operations such as aerial
           hunting, suggests that IDFG may lack the expertise and
           resources to carry out those operations itself. We therefore
           conclude that whether IDFG would implement an identical
           program without IDFG, thus resulting in the same number of
           lethal wolf removals, is a matter of speculation. As we stated
           in WildEarth Guardians, “[s]uch speculation does not defeat
           standing.” Id. at 1159.
Case
  Case:
     1:16-cv-00218-EJL-CWD
        18-35075, 04/23/2019, ID:
                               Document
                                  11273217,
                                        36 DktEntry:
                                            Filed 04/23/19
                                                     41-1, Page
                                                            Page1515ofof1515




                   WESTERN WATERSHEDS PROJECT V. GRIMM             15

                             III. CONCLUSION

              For the foregoing reasons, we REVERSE the district
           court’s order dismissing this case for lack of standing and
           REMAND for further proceedings.
